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NOT FOR PUBLICATION
                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 THE PRUDENTIAL INSURANCE
 COMPANY OF AMERICA,                                  Civil Action No. 19-12235 (SDW) (SCM)

                              Plaintiff,
                 v.                                   ORDER
 STEVEN QUADREL, CHRIS QUADREL,
 RYAN QUADREL, individually and in his
 capacity as Executor of the Estate of Mark
                                                      July 29, 2020
 Quadrel, and THE ESTATE OF MARK
 QUADREL,

                              Defendants.

WIGENTON, District Judge.

       Before this Court is Magistrate Judge Steven C. Mannion’s (“Judge Mannion”) Report and

Recommendation (“R&R”), dated July 13, 2020, which recommends that Defendants Chris

Quadrel, Ryan Quadrel, individually and in his capacity as Executor of the Estate of Mark Quadrel,

and the Estate of Mark Quadrel’s second motion for attorney fees (D.E. 21) against co-defendant

Steven Quadrel be denied. No objections to the R&R were filed.

       This Court has reviewed the reasons set forth by Judge Mannion in the R&R and the other

documents in this matter. Based on the foregoing, and for good cause shown, it is hereby

       ORDERED that the R&R of Judge Mannion (D.E. 24) is ADOPTED as the conclusions

of law of this Court.

       SO ORDERED.

                                                    s/ Susan D. Wigenton, U.S.D.J.

Orig: Clerk
cc:   Parties
      Steven C. Mannion, U.S.M.J.
